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EXHIBIT 16

 

 
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CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE

THIS CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE (this
“Agreement”) is made as of this 24 “day of May, 2018, by and among Robert Buczkowski
(“Plaintiff’ or “Buczkowski”) and Madison Mechanical OS Corp., Madison Mechanical
Contracting, LLC, Glenn Haslam, Gary Garofalo, Lawrence Kraemer, Richard Lombardo, and
Richard Amold (“Defendants” or “Madison”) (hereinafter all of the foregoing are collectively
referred to as the “Parties”).

WHEREAS, On May 10, 2016, Buczkowski made a derivative demand on Madison
Mechanical OS Corp. This demand was rejected on May 11, 2016 and on May 27, 2016, and
Buczkowski thereafter filed suit against Madison Mechanical OS Corp., Madison Mechanical
Contracting, LLC, Glenn A. Haslam, Gary J. Garofalo, Richard Arnold, Lawrence P. Kraemer,
and Richard M. Lombardo in the Circuit Court for Baltimore County, Case No. 03-C-16-005782,
requesting a declaratory judgment concerning wrongful termination of Buczkowski’s employment
and his stock in Madison Mechanical OS Corp., and alleging, both directly and derivatively, claims
for breach of contract, oppression of a minority shareholder, breach of fiduciary duty, tortious
interference with economic relations, unjust enrichment, unfair competition, misappropriation of
trade secrets, and constructive trust (the “Action”), and seeking money damages; and

WHEREAS, on or about July 27, 2016, Defendants filed a counterclaim against
Buezkowski in the Action, asserting claims for declaratory judgment, breach of contract — specific

performance, tortious interference with business relationships, and breach of fiduciary duty;

WHEREAS, on March 12, 2018, after a hearing on various motions, Richard Arnold was

dismissed by the Circuit Court for Baltimore County from this suit altogether; and
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WHEREAS, the Parties desire to settle, discharge and terminate all claims, counterclaims,
controversies and potential claims and controversies which may now exist in their favor, whether
known or unknown, against each other without the resort to further litigation, and in particular, but
not by way of limitation, any and all claims, suits, or damages of any nature whatsoever, in any
way arising out of, or in any way related to the Action referred to above as well as any possible
claims either related or unrelated to the Action upon the terms and conditions set forth herein and
complete settlement of the above-styled action.

NOW, THEREFORE, in consideration of the mutual covenants and undertakings
contained herein, and other good valuable consideration, the receipt and adequacy of which are
hereby acknowledged by each of the Parties by their execution of this Agreement, the Parties
hereby contract and agree to the following terms and conditions as full and complete settlement of
the above-styled action:

1. Incorporation of Recitals. The Recitals to this instrument are incorporated by
reference herein.

2. Effective Date of This Agreement. This Agreement will be effective on the date
when it is executed by all of the Parties.

3. Settlement of All Claims. By executing this document, the Parties expressly
agree, declare and acknowledge that it is their intention to resolve all disputes and potential
disputes which may now exist in their favor or on their behalf, whether known or unknown, against
each of the other Parties, including but not limited to those disputes, claims, and counterclaims in
the Action.

4, Release by Plaintiff. In consideration of the sum of $725,000 (“Settlement Funds”)

to be paid as provided in Paragraph 6 and in consideration for the dismissal of the Action, the promises
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and agreements of the Parties contained herein, and other good and valuable consideration, the receipt
of which is hereby acknowledged, Plaintiff releases and forever discharges, on behalf of himself and
for his predecessors and successors, heirs, executors, administrators, assigns, related entities, spouse
and other family members, and other persons and/or entities, hereby unconditionally releases and
forever discharges Madison Mechanical OS Corp., Madison Mechanical Contracting, LLC, Glenn A.
Haslam, Gary J. Garofalo, Richard Arnold, Lawrence P. Kraemer, Richard M. Lombardo and all of
their respective heirs, spouses, family members, affiliates, subsidiaries, servants, employees,
shareholders, employers, stockholders, officers, directors, members, partners, associates, past and
present, and all of its predecessors and successors, executors, administrators and/or assigns, of and
from all and every manner of acts and actions, cause and causes of actions, suits, arbitrations,
mediations, conciliations, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties,
covenants, contracts, controversies, agreements, promises, variances, damages, judgments,
executions, claims and demands whatsoever in law or in equity, which Plaintiff ever had, now has, or
his predecessors and successors, heirs, executors, administrators, assigns, spouse and other family
members, other related entities, persons and/or entities hereafter can, shall or may have, from the
beginning of the world to the date of this Release, whether known or unknown, suspected or
unsuspected, fixed or contingent, including, but not limited to, all allegations that were or could have
been asserted in the Action. This release does not extend to any rights or obligations provided for
in this Agreement.

Expressly excluded from this Agreement are any claims that may arise out of Summit First

Wave, LLC.

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5. Release by Defendants. In consideration for the dismissal of the Action, the promises
and agreements of the Parties contained herein, and other good and valuable consideration, the receipt
of which is hereby acknowledged, Defendants release and forever discharge, and for their
predecessors and successors, servants, employees, heirs, executors, administrators, trustees, and
assigns, affiliates, subsidiaries, shareholders, stockholders, officers, directors, members, partners, and
associates, past and present, remise, release and forever discharge Plaintiff and all of his predecessors
and successors, servants, employees, heirs, executors, administrators, trustees, and assigns of and
from all and every manner of acts and actions, cause and causes of actions, suits, arbitrations,
mediations, conciliations, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties,
covenants, contracts, controversies, agreements, promises, variances, damages, judgments,
executions, claims and demands whatsoever in law or in equity, which Defendants ever had, now
have, or their predecessors and successors, heirs, executors, administrators, assigns, related entities,
persons and/or entities hereafter can, shall or may have, from the beginning of the world to the date
of this Release, whether known or unknown, suspected or unsuspected, fixed or contingent, including,
but not limited to all allegations that were or could have been asserted in the Action. This release
does not extend to any rights or obligations provided for in this Agreement.

Expressly excluded from this Agreement are any claims that may be brought or already
pending against Twin City Fire Insurance Company, The Hartford Insurance Company, Alliant
Americas, William Franey, and Patricia Biederman. Also expressly excluded from this Agreement
are any claims that may arise out of Summit First Wave, LLC.

6. Payment of Settlement Funds. The Parties agree that the Settlement Funds will
be paid in installments as follows: the first installment in the amount of $462,500 is due within

thirty days of the effective date of this Agreement, of which $200,000 shall be paid directly by

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Defendants to Buczkowski’s legal counsel, Joseph, Greenwald & Laake, P.A. and $262,500 shall
be paid by Defendants to Plaintiff; the second installment, in the amount of $131,250, shall be paid
by Defendants to Plaintiff on or before September 30, 2018; the third and final installment, in the
amount of $131,250, shall be paid by Defendants to Plaintiff on or before December 15, 2018.

Simultaneous with execution of this Agreement, Defendant Madison Mechanical OS Corp.
shall execute a certain Promissory Note, attached hereto as Exhibit A. Simultaneous with the
execution of this Agreement, Defendants Glenn Haslam, Gary Garofalo, Lawrence Kraemer, and
Richard Lombardo shall execute a certain Guaranty Agreement attached hereto as Exhibit B.

7. Dismissal of the Action. Within seven (7) days from the effective date of this
Agreement, the Parties shall file a Stipulation of Dismissal with Prejudice of the Action.

8. Cooperation in Insurance Coverage Litigation. Plaintiff agrees that upon
execution of this Agreement by all Parties, he will execute an affidavit concerning his ownership
interest in OS Corp. Plaintiff further agrees to testify in a deposition or at trial, upon reasonable
notice and at a mutually-agreeable date, time, and location, in Defendants’ action against Twin
City Fire Insurance Co. or Alliant Americas.

8. Confidentiality. The Parties and their respective counsel warrant that all the
provisions of this Agreement will remain in strict confidence and that no copy of this Agreement
shall be filed with any court, or disclosed to any persons or entities, except where disclosure is
required by applicable law, court order, or subpoena compelling disclosure, or in any proceeding
to enforce this Agreement. The Parties and their counsel agree to refrain from making any
statements about the styled action, the allegations contained therein, or this Agreement. The
Parties may, however, in the ordinary course of business, disclose such information to their

attorneys, accountants, boards, assignees, or prospective purchasers, or to other persons as required

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to effectuate the terms of this Agreement. Defendants may also disclose such information as may
be necessary to effectuate insurance coverage for this Action.

9. Representation of Comprehension of Document. In entering into this Settlement
Agreement, the Parties acknowledge that they have relied upon the advice of their attorneys, who
are the attorneys of their own choice, concerning the legal consequences of this Release; that the
terms of this Release have been completely read and explained to the Parties by their attorneys;
that they are not relying on any representations of the other Parties or their attorneys not contained
herein in writing; and that the terms of this Release are fully understood and voluntarily accepted
by the Parties.

10. Warranty of Capacity to Execute Agreement. The Parties represent and
warrant that no other person or entity has, or has had, any interest in the claims, demands,
obligations, or causes of Action referred to in this Release, except as otherwise set forth herein;
that the Parties have the sole right and exclusive authority to execute the Release and receive the
sums specified in it; and that the Parties have not sold, assigned, transferred, conveyed or otherwise
disposed of any of the claims, demands, obligations or causes of Action referred to in this Release,

11. Applicable Law. Regardless of where this instrument is executed, it shal] be
construed and interpreted in accordance with the laws of the State of Maryland. In no event,
however, will resort be had to any presumption or other rule of law requiring construction against
the party who drafted or caused this instrument to be drafted.

12. Modification. This instrument may not be modified or changed orally, but only
by an agreement in writing signed by the party against whom enforcement of any such

modification or change is or may be sought.

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13. Cooperation. The Parties agree to cooperate fully and execute any and all
supplementary documents and to take any and all additional Action that may be necessary or
appropriate to give full force and effect to the basic terms and intent of this Release, and which are
not inconsistent with the terms set forth herein.

14, Entire Agreement and Successors-In-Interest. This Release contains the entire
agreement between the Parties with regard to the matters set forth herein regardless of the adequacy
of the compensation and the Parties have no obligation to do any act other than as set forth herein.
Additionally, this Release shall be binding upon and inure to the benefit of the executors,
administrators, personal representatives, heirs, successors and assigns of each of the Parties.

15. No Admission/Denial of Liability. The Parties by reason of agreeing to this
compromise and agreement deny liability of any and every sort and state they have made no
agreement to do or omit to do any act or thing not set forth herein. They further state that this
Agreement is entered as a compromise in order to avoid expense and to terminate all controversy
and/or claims for injuries or damages of whatsoever nature known or unknown, including further
developments thereof in any way growing out of or connected with the dispute.

16. Counterparts. This Settlement Agreement may be executed in two or more
counterparts, each of which shall be deemed to be an original and all of which together shall be
deemed one and the same agreement. A scanned or faxed signature shall be deemed an original.

17. Invalidation. If any provision of the Agreement is invalidated by a court of
competent jurisdiction, then all of the remaining provisions of this Agreement shall remain in full
force and effect, provided that the Parties may still effectively realize the complete benefit of the

promises and considerations conferred hereby.

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[SIGNATURE PAGE FOLLOWS]

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ROBERT BUCZKOWSKI
Individually and derivatively on behalf of
Madison Mechanical, Inc.

By:

 

Robert Buczkowski

DATE:

 

GLENN HASLAM

Individually and as President and CEO of
Madison Mechanical OS Corp., Madison
Mechanical, Inc., and Madison Mechanical
Contracting, LL

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Glenn Haslam
DATE: 5/a4/ 1S

GARY GAROFALO

By:
Gary Garofalo

 

DATE:
LAWRENCE KRAEMER

By:

 

Lawrence Kraemer
DATE:
RICHARD LOMBARDO

By:
Richard Lombardo

 

DATE:

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Madison Mechanical, Inc.

By:

 

Robert Buczkowski

DATE:

GLENN HASLAM

Individually and as President and CEO of
Madison Mechanical OS Corp., Madison
Mechanical, Inc., and Madison Mechanical

By: a

Glenn Haslam
DATE: 2, £34/ 1S

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By:
Gary Garofalo

DATE: Phd /8

LAWRENCE KRAEMER

By:

 

Lawrence Kraemer

DATE:
RICHARD LOMBARDO

By:
Richard Lombardo

 

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ROBERT BUCZKOWSKI
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Madison Mechanical, Inc.

By:

 

Robert Buczkowski

DATE:

 

GLENN HASLAM

Individually and as President and CEO of
Madison Mechanical OS Corp., Madison
Mechanical, Inc., and Madison Mechanical

Contracting, LLC

By:

 

Glenn Haslam

DATE:

 

GARY GAROFALO

By:

 

Gary Garofalo

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RICHARD LOMBARDO

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ROBERT BUCZKOWSKI GLENN HASLAM

Individually and derivatively on behalf of Individually and as President and CEO of

Madison Mechanical, Inc. Madison Mechanical OS Corp., Madison
Mechanical, Inc., and Madison Mechanical
Contracting, LLC

By:

 

Robert Buczkowski By:

 

Glenn Haslam

DATE: DATE:

 

GARY GAROFALO

By:

 

Gary Garofalo

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LAWRENCE KRAEMER

By:

 

Lawrence Kraemer

DATE:

 

RICHARD LOMBARDO

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DATE: 2/24/2018 6:12:45 AM PDT

 

RICHARD ARNOLD

By:

 

Richard Arnold

DATE:

 

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ROBERT BUCZKOWSKI

individually and derivatively on behalf of

Madison Mechanical, Inc.

By: “fled Bead Lh ————

Robert Buczko wield

DATE: $/25/ /@)

GLENN HASLAM

Individually and as President and CEO of
Madison Mechanical OS Corp., Madison
Mechanical, Inc., and Madison Mechanical
Contracting, LLC

By:

 

Glenn Haslam

DATE:

GARY GAROFALO

By.

 

Gary Garofalo

DATE:

 

LAWRENCE KRAEMER

By:

 

Lawrence Kraemer

DATE:

 

RICHARD LOMBARDO

By:

 

Richard Lombardo

DATE:

RICHARD ARNOLD

By:

 

Richard Arnold

DATE:

 

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